                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE

 COREY PERKEY,                               )
 LYNDSAY ALLRED,                             )
 SONYA GARCIA, and                           )
 ANTHONY RAMSEY,                             )
 Individually and on behalf of similarly     )
 situated current and former employees,      )
                                             )
              Plaintiffs,                    )
                                             )
 v.                                          )      No.:   3:21-CV-37-TAV-HBG
                                             )
 DUNCAN EMPLOYMENT AND                       )
 RESIDENTIAL SERVICES, LLC,                  )
 NURTURING INDEPENDENCE, INC,                )
 BRANDIE MASTON,                             )
 TRACY WALTER,                               )
 JESSICA DUNCAN, and                         )
 AARON DUNCAN,                               )
                                             )
              Defendants.                    )


                      MEMORANDUM OPINION AND ORDER

       This civil action is before the Court on the parties’ Joint Motion to Approve Terms

 of Accepted Offer of Judgment [Doc. 21], which requests the Court’s approval of a

 settlement of plaintiffs’ Fair Labor Standards Act (“FLSA”) claims.

       The FLSA’s provisions are generally mandatory and not subject to bargaining,

 waiver, or modification by contract or settlement. See Brooklyn Sav. Bank v. O’Neil, 324

 U.S. 697, 706 (1945). However, an exception applies if a court approves the settlement.

 Thompson v. United Stone, LLC, No. 1:14-CV-224, 2015 WL 867988, at *1 (E.D. Tenn.

 Mar. 2, 2015); Crawford v. Lexington-Fayette Urb. Cnty. Gov’t, No. 06-299-JBC,




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 2008 WL 4724499, at *3 (E.D. Ky. Oct. 23, 2008). Under this exception, a court may

 approve a settlement so long as the settlement resulted from “contested litigation” and is a

 “fair and reasonable resolution of a bona fide dispute over FLSA provisions.” Osman v.

 Grube, Inc., No. 3:16-CV-802-JJH, 2018 WL 2095172, at *1 (N.D. Ohio May 4, 2018)

 (citation omitted); Bartlow v. Grand Crowne Resorts of Pigeon Forge, No. 3:11-CV-400,

 2012 WL 6707008, at *1 (E.D. Tenn. Dec. 26, 2012) (citation omitted).

        The Court finds approval of the parties’ settlement is appropriate in this case. The

 record reflects that this litigation has been substantially contested as each party has engaged

 in extensive discovery of “voluminous” documents and considered the possibility for

 alternative dispute resolution [See Doc. 15]. Moreover, in the arms-length, extensive

 negotiations that resulted in a settlement, all parties were represented by experienced and

 reputable counsel. Additionally, a bona-fide dispute existed as to whether plaintiffs

 received appropriate compensation for hours worked. And considering the suggested

 settlement amount represents full satisfaction of the alleged underpayment, at least a

 portion of liquidated damages, and reasonable attorneys’ fees [See Doc. 21], the Court finds

 the proposed settlement is a fair and reasonable resolution of the instant case that promotes

 judicial economy and public interest. The Court has also considered “the risk of fraud or

 collusion, the complexity, expense, and likely duration of the litigation, the amount of

 discovery completed, the likelihood of success on the merits, and the public interest in

 settlement.” See Estes v. Vanderpool Constr. & Roofing, Inc., No. 2:17-CV-58, 2018 WL

 3910999, at *2 (E.D. Tenn. July 30, 2018) (citation omitted).

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       Thus, the parties’ Joint Motion to Approve Terms of Accepted Offer of Judgment

 [Doc. 21] is hereby GRANTED. Accordingly, the proposed settlement reflected in the

 parties’ accepted offer of judgment [Docs. 18, 18-1] is hereby APPROVED as being a fair

 and reasonable compromise of the disputed issues of law and fact remaining in this action.

 Therefore, this case shall be DISMISSED, and the Clerk of the Court is DIRECTED to

 CLOSE the case.

       IT IS SO ORDERED.


                                   s/ Thomas A. Varlan
                                   UNITED STATES DISTRICT JUDGE




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